IN THE UNITED STATES DISTRICT COURT 00
FOR THE SOUTHERN DISTRICT OF QHIQAY 25 PH 4

      

    

     

WESTERN DIVISION es
S a OEY 'ON
UNITED STATES OF AMERICA CASE NO. 3" {co | 80
Vv. : THOMAS M . ROSE

INDICTMENT

CAROL A. WILSON 18 U.S.C. § 1028A
18 U.S.C. § 641
18 U.S.C. § 510

 

THE GRAND JURY CHARGES THAT:

COUNT 1
[18 U.S.C. § 641]

Beginning on an exact date unknown, but at least by on or about March 2, 2004, and
continuing up to and including June 5, 2006, in the Southern District of Ohio, defendant, CAROL
A. WILSON, knowingly and willfully did embezzle, steal, purloin, and convert to her use or the use
of another, money of the United States or a department or agency thereof, in excess of $1,000.

In violation of Title 18, United States Code, Section 641.

COUNT 2
[18 U.S.C. § 1028A]

On or about June 5, 2006, in the Southern District of Ohio, defendant, CAROL A.
WILSON, did knowingly use, without lawful authority, a means of identification of another person,

to wit: the signature of “L.W.” during and in relation to a felony violation enumerated in 18 U.S.C.

§ 1028A, namely, Theft of Government Funds, in violation of 18 U.S.C. § 641.

In violation of Title 18, United States Code, Section 1028A.
COUNT 3
[18 U.S.C. § 510(a)(2)]

On or about June 5, 2006, in the Southern District of Ohio, the defendant, CAROL A.
WILSON, with intent to defraud, did pass, utter and publish as true a Treasury check of the United
States bearing a falsely made and forged endorsement.

In violation of Title 18, United States Code, Section 510(a)(2).

A TRUE BILL
(s/

FOREMAN /

CARTER M. STEWART
United States Attorney

—_

~ LAURA I. CLEMMENS
Chief, Dayton Branch
